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STATE OF INDIANA              )               IN THE STEUBEN COUNTY CIRCUIT COURT
                              )SS:
COUNTY OF STEUBEN             )               CAUSE NO.

ALLEN BELL
  Plaintiff

        Vs

WALMART INC.
  Defendant

                         COMPLAINT FOR PERSONAL INJURIES


      Comes now Plaintiff, ALLEN BELL, by Counsel, and for cause of action against Defendant,

WALMART INC. alleges and says:


        1.     That on or about September 4, 2020, plaintiff, ALLEN BELL, was a resident of the

County of Steuben, State of Indiana.

        2.    That on September 4, 2020, Defendant, WALMART INC., was a Delaware

Corporation licensed to do business in the State of Indiana, with its principal place of business at

702 SW 8th Street, Bentonville, AR 72716 and owned, operated, maintained or controlled a

Walmart Store in Angola, Indiana.

        3.     That on or about September 4, 2020, Plaintiff, ALLEN BELL, was an invitee of the

Defendants’ premises, or the premises operated or maintained or controlled by Defendants located

at 2016 N Wayne Street, City of Angola, County of Steuben, State of Indiana.

        4.     Defendant owed to Plaintiff a duty to exercise reasonable care to avoid injury to its

invitees.

        5.     At the time the Plaintiff was on the Defendant's premises, Defendant failed to

exercise reasonable care to maintain the premises in a safe condition.




                                                                                            Exhibit A
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        6.      Because Defendant failed to exercise reasonable care to maintain the premises, it

breached the duty it owed to Plaintiff.

        7.      On or about September 4, 2020, Plaintiff, ALLEN BELL, fell on a wet floor while

leaving the self-check out area in the Defendant's store located at 2016 N Wayne Street, City of

Angola, County of Steuben, State of Indiana.

        8.      The Plaintiff, ALLEN BELL, fell as the direct and proximate result of the

Defendants’ negligence when Defendants failed to maintain said premises in a safe condition

resulting in hazards and defects and/or causing dangerous conditions on the premises.

        9.      That the Defendants, knew or should have known of the condition of the floor and

knew or should have known that failing to properly maintain the premises created an unreasonable

risk of harm to its invitees, including Plaintiff.

        10.     That the Defendants, failed to maintain said premises in a safe condition resulting

in hazards and defects and said Defendants were negligent as follows:

                (a)     Defendants and/or their agents failed to prevent and/or neglected to

                        maintain the premises in a reasonably safe condition;

                (b)     Defendants and/or their agents failed to exercise ordinary and reasonable

                        care in the maintenance of said premises;

                (c)     Defendants failed and neglected to use reasonable care to provide Plaintiff

                        with a safe and secure premises regarding foreseeable slipping hazards;

                (d)     Defendant's failed to provide a mat or absorbent material to reasonably

                        maintain the foreseeable slipping hazard area.

                (e)     Defendants and/or their agents failed to warn invitees and pedestrians of

                        the unsafe and hazardous condition of the insufficiently maintained floor




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                       inside the premises and about which it knew or in the exercise of

                       reasonable care should have known.

       11.     As a further direct and proximate result of said negligence on the part of

Defendants, the Plaintiff;

               (a)     has suffered severe injuries and disabilities;

               (b)     has endured and continues to endure pain and suffering;

               (c)     has incurred medically related expenses;

               (d)     has suffered loss of earning capacity; and

               (e)     permanent damage.

       WHEREFORE, Plaintiff, ALLEN BELL, prays for judgment of damages against the

Defendants, WALMART INC., in the following particulars: for the injuries sustained by Plaintiff,

ALLEN BELL, including medical expenses, pain and suffering, permanent damage, loss of

income and earning capacity, past and future pain and suffering and all other associated damages

all in such amounts as would reasonably compensate him for these losses; the costs of this action,

and for all other just and proper relief in the premises.

                                               Respectfully Submitted,

                                               /s/Daniel E. Brophy
                                               Daniel E. Brophy, Attorney No. 14471-02
                                               Richard T. Truitt, Attorney No. 893-35
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